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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION


   IN RE: TAKATA AIRBAG PRODUCT LIABILITY                       MDL No. 2599
   LITIGATION
                                                                Master File No. 15-MD 2599-MD-
                                                                Moreno
   This Document Relates to:
                                                                S.D. Fla. Case No. 1:15-cv-21430-
                                                                Moreno
   SABRA M. WILSON AND WILLIAM R. WILSON

                        Plaintiffs,

          v.                                                    JURY TRIAL DEMANDED

   TAKATA CORPORATION, TK HOLDINGS, INC.,
   NISSAN MOTOR CO., LTD., NISSAN NORTH
   AMERICA, INC.

                        Defendants.



                           NISSAN MOTOR CO., LTD.’S
                 FEDERAL RULE OF CIVIL PROCEDURE 12(b) MOTION

          Pursuant to the Order of August 27, 2015 [Dkt. 666] Defendant Nissan Motor Co., Ltd.

   moves pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure to dismiss all claims

   asserted against it in Plaintiffs’ Second Amended Consolidated Personal Injury Track Complaint

   [Dkt. 578].

          Plaintiffs have asserted the same facts and causes of action against NML as they asserted

   against Nissan North America, Inc. (“NNA”). Therefore, in the interest of efficiency, NML

   hereby adopts and incorporates the grounds, arguments and authorities and evidence in NNA’s

   Federal Rule of Civil Procedure 12(b) Motion [Dkt. 611].



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                                         Respectfully Submitted,


                                     By: /s/ Kimberly A. Cook
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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on September 4, 2015, a true and correct copy of the attached

   Nissan Motor Co., Ltd.’s Corporate Disclosure was served via Electronic Case filing.



                                                              /s/ Kimberly A. Cook
                                                              Kimberly A. Cook




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